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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
            Plaintiff,                          )
                                                )
      vs.                                       )           Case No. S1-4:09CR00012RWS
                                                )
RYAN GATELY,                                    )
                                                )
            Defendant.                          )


                                            ORDER

       This matter is before the Court on the motion for additional time1 filed by Defendant Ryan

Gately [Doc. #199]. For good cause shown, Defendant Gately shall have until Wednesday, May

27, 2009 at 4:00 p.m., to file any motions or waiver of motions related to wire taps and pen

registers. The government shall have until June 1, 2009 to respond. The evidentiary hearing

related to electronic evidence shall remain as scheduled on June 2, 2009 at 11:00 a.m.

       Dated this 21st day of May, 2009.



                                             AUDREY G. FLEISSIG
                                             UNITED STATES MAGISTRATE JUDGE




       1
           Defendant requested an extension until Wednesday, May 28, 2009, but Wednesday is
actually May 27, 2009.
